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WESTERN DISTRICT OF TENNESSEE
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UNITED STATES OF AI".|ERICA,
Plaintiff,
v. Case Number 04-20416-Ma
DERICO BOBBIT,
Defendant.
J'UDGMENT
Decision by Court. This action came for consideration

before the Court. The issues have been duly considered and a
decision has been rendered.

IT IS ORDERED AND ADJUDGED that the Indictment returned
against Derico Bobbit is dismissed in accordance with the Order
docketed August 30, 2005.

APPROVED:

AM/Wz__

SAMUEL H. MAYS, JR.
UNITED ST.ATES DISTRICT JUDGE

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Honorable Samuel Mays
US DISTRICT COURT

